Case 1:09-cV-00597-LI\/|B-TCB Document 41-26 Filed 10/23/09 Page 1 of 10 Page|D# 787

EXHIBIT Y

Case 1:09-cv-00597-L|\/|B-TCB Document 41-26 Filed 10/23/09 Page 2 of 10 Pa§eW# ‘F'§§

Roth, Melissa R.

From: Dicl<inson, Nlichel|e J.
Sent: Thursday, October 22, 2009 1147 PNl
To: Roth, Nle|issa R.

Subject: FW: Update on Sony
|mportance: High

From: Chris Cwalina [mailto:ccwalina@intersections.com]
Sent: Tuesday, August 04, 2009 3:16 PM

To: Dicl<inson, Michelle J.

Subject: Fw: Update on Sony

Importance: High

From: Michael Stanfielcl

To: John Scan|on; Chris Cwalina
Sent: Tue Aug 04 15:13:32 2009
Subject: FW: Update on Sony

779?'?’?'?’?'?'?’??'?'?'?'??’?’?

From: Joseph Loornis [mailto:joe@loomisenterprises.com]
Sent: Monday, August 03, 2009 7:21 PM

To: stuart.bennett@netenforcers.com

Cc: Michae| Stanfieicl

Subject: Update on Sony

Importance: High

Stuart,

| received a follow up call to my conversation with Sony in where l was requested to help roll out this project
and idea that l had a year or so ago. l explained to Sony that l am here to help NE| in any way l can. | left the
conversation off that | would circle back to you and the team to put provide the proper direction so that the
proper proposal, discussions and possible meetings to make this a positive ROl for Sony (also a serious revenue
stream for NEl). From my discussion, NE| should be able to see a 4-9MM top line revenue increase for this
program for the first year, and slowly ramp up to possible over BOI\/Il\/l in revenue over the course of 1~2 more
years.

Very exciting times but you might recall when l started this and how motivated | was but the timing was not
right due to the management restructure at Sony. That time has passed and they are ready. Let's do this..

PS. | left the current dispute out of the discussion in hopes to preserve the opportunity for NE| and also my earn
out.

Look forward to your reply,

10/23/2009

Case 1:09-cv-00597-L|\/|B-TCB Document 41-26 Filed 10/23/09 Page 3 of 10 PW€|[§# ?§9
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loe

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10/23/2009

ease 1:09-cv-00597-Ll\/le-TCB Document 41-26 Filed 10/23/09 Page 4 or 10 Patjesa# free

Roth, Melissa R.

From: Dickinson, Miche|le J.
Sent: Thursday, October 22, 2009 1146 PlVl
To: Roth, lVle|issa R.

Subject: FW: Lets resolve this and move on with Business **|MPORTANT**
|rnportance: High

From: Chris Cwalina [mailto:ccwalina@intersections.com]
Sent: Friday, August 28, 2009 4:30 PM

To: Dickinson, Miche|le J.

Subject: FW: Lets resolve this and move on with Business **IMPORTAN'P**
Importance: High

From: Michael Stanfield

Sent: i=rida\/r August 28, 2009 4:08 PM

To: Chris Cwalina

Subject: FW: l_ets resolve this and move on with Business **IMPORTANT**
Importance: High

From: Joseph Loomis [mai|to:]oe@LoomisStrategies.com]

Sent: Friday, August 28, 2009 3:59 PM

To: Michae| Stanfie|d

Subject: Lets resolve this and move on with Business **IMPORTAN'P“*
Importance: High

Michae|,

This litigation is not productive to either of us. As you know, it's been nothing but drama, a waste of time and
money and hasn't done anything to help either NEl or lNTX grow their revenues and business.

Lets end this entire dramatic dispute with both of us walking away and releasing each other ful|y.

l know in my heart l did the best that | could do to run Net Enforcersr even if it was difficult for me to transition
into a corporate environment As for the acquisition of NEl, | want yc_)_u_ to know that l conducted this transaction
in complete good faith and clear conscience |just do not think that it helps NEl or even lNTX to end up with
everyone testifying about the customers, business relationships, revenues, mistakes and issues that |NTX and
NEl experienced during and after the acquisition

| personally feel that nothing productive will ever come out of this dispute and it will do nothing but create

collateral damage to personal careers, customer relationships and business rep utations. l know that this was not
what you wanted, my friend and neither did ll

10/231'2009

Case 1:09-cv-00597-L|\/|B-TCB Document 41-26 Filed 10/23/09 Page 5 of 10 ng§é|§a(i);§l

l would be more than happy to discuss this with you.
Sincere|y,

loe Loomis

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10/23/2009

case 1:09-cv-00597-Ll\/ls-Tcs Document 41-26 Filed 10/23/09 Page 6 or 10 Pa§ess# aaa

Roth, Melissa R.

 

From: Dickinson, Miche|le J.
Sent: Thursday, October 22, 2009 1145 P|Vl
To: Roth, Nleiissa R.

Subject: FW: Michae|...
` Importance: High

From: Chris Cwalina [mailto:ccwa|ina@intersections.com]
Sent: Wednesday, September 02, 2009 12:18 PM

To: Dickinson, Miche|le J.

Subject: FW: Michae|...

Importance: High

From: Michaei Stanfleld

Sent: Wednesday, Septernber 02, 2009 12:16 PM
To: Chris Cwalina

Subject: FW: Michae|...

Importance: High

From: Joseph Loomis [mai|to:Joe@LoomisStrategies.com]
Sent: Wednesday, September 02, 2009 11:11 AM

To: Michaei Stanfield

Subject: Michael...

Importance: High

Michael,

|ntellectually, | know that it is in everyone's best interest to resolve our dispute. Emotionally, it has been very
difficult to get to this place of proposing the walk-away that | did last Friday. The reason will surprise you to why
it's been so difficult for me. Without your knowledge (| trust), this lawsuit revealed my home address to the
world. You know very well that because of my work at Net Enforcers, l was tapped by the FB| and DEA to be a
registered federal informant for my cooperation with through Net Enforcers. |V|y work and through NE|’s team,
helped law enforcement put members ofthe |V|afia and the Russian Mob behind bars, including uncovering a
money laundering scheme via PayPal that shut down expensive yet profitable illegal operations

ln a sense, | risked my life to give us credibility and also because | knew that | could help law enforcement make
a difference in today's cybercrime battlefield. if you recall, through these relationships, | even brought John
Hambrick from the FBl’s |nternet Complaint Center to intersections so that we could all possibly work together
more closely, either with lTACT or through a formal partnership.

Sti|| to this day l still want to know who decided it was "ok” to endanger my life by putting my home address on
the court filing. When the lawsuit was flooded on the |nternet, l had to relocate as per the advice of law

10/23/2009

Case 1:09-cv-00597-L|\/|B-TCB Document 41-26 Filed 10/23/09 Page 7 of 10 PWQQ#OHS

enforcement and amin fear for my life. |’m not sure if you can understand what that must feel like but it's not
good knowing that very sophisticated organizations are not happy with how ”good" NEl was with stopping illegal
drug manufacturing and on|ine cybercrime | hope you will tell me that this was inadvertent because l am still
quite emotional about it.

| have yet to hear back from your counsel in regards to my proposition for a r’wall< away". | always thought that
you and l had a pretty good understanding of each other, even if l was young and inexperienced in a corporate
environment and for what it’s worth, lam sorry that things did not work out, l really wanted to make you proud
of what l could do to help your company grow.

Sincerely,

loe Loomis

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10/23/2009

Case 1:09-cv-00597-L|\/|B-TCB Document 41-26 Filed 10/23/09 Page 8 of 10 Pag’eiil§# 995

Roth, Melissa R.

From: chkinson, Michelle J.
Sent: Thursciayl October 22, 2009 1:43 PNl
To: Roth, Nle|issa R.

Subject: FW: Circus Act
lmportance: High

From: Chris Cwalina [mai|to:ccwa|ina@intersections.com]
Sent: Thursday, October 22, 2009 1:04 PM

To: Dickinson, Michei|e J.

Subject: FW: Circus Act

Importance: High

From: Michaei Stanfield

Sent: Thursday, October 22, 2009 1:02 PM
To: Neal Dittersdorf; Chris Cwalina
Subject: FW: Circus Act

Importance: High

fyi

From: Joseph Loomis [mailto:joe@loomisstrategies.com]
Sent: Thursday, October 22, 2009 12:30 PM

To: Michaei Stanfie|d

Subject: Circus Act

Importance: High

|V|ichael,

l reviewed a lot of the discovery. interesting discussions and information between the parties. l too have some
details that seem to of fallen through the cracks with Cwalina's and SCanion's "investigation", including
information that is going to be a little difficult to explain at depositions Either way, lam writing to you because
thought you were someone l could look up, admire and someone that was my friend. | even planned to run |NTX
in less than 3 years because l believed in the company and what your mission was and it seemed like you were

ready to enjoy the finer things in life vs. the daily grind.

lf you reca||, l told you l was not happy with Scan|on over me and you told me you would "re-visit it”, but did l
expect you to demote your COO ? No, it was clear that the deadly recipe that was put together was running
down the tracks full speed and there wasn't much | could do. l did try to setup a meeting but from the looks of
discovery, it wouldn't have done much anyway., | still always like to reference back to when l told you that my
counsel told me Scan|on would hang me out to dry and screw me because we caught him in lies and dropping
the ball during the acquisition, all details to come out in court room soon enough. | also wonder why you trust a
guy that you told me was "quarky” and someone you thought wasn't the right guy for the job when you hired
him. |t’s funny cause Chip called me ”Digital” and John "ana|og”, | wonder what happened if Scan|on wasn‘t

10/23/2009

Case 1:09-cv-00597-L|\/|B-TCB Document 41-26 Filed 10/23/09 Page 9 of 10 Pag§é|§¢g§'§£$

above me, l bet | would still be at lNTX, and we'd be doing good business together.

l have thought that maybe you wanted to just buy NEl for the upfront and then terminate me |ater, getting
yourself a deal, l guess | will never know your true intentions l was foolish to think that there was such thing as
honor and loyalty in business, but this doesn’t seem to be the case. l figured this after you denied my help to
obtain more Sony business and if you think Stuart has the capabilities to close that dea|, or Scanlon calling Sony
asking if he can come out and visit, | can tell you, he doesn’t possess the confidence or technological background
to make such a large company comfortable and once Sony get's deposed, l would be surprised if they continue
to do business with NE| anyway. l just don't understand how you can justify the collateral damage that this little
exercise is going to cause your companies Maybe one clay you can tell me after you figure out for yourself the
real truth. l offered a sit down and you refused, something that still baffles me.

Oh l got some juicy info for ya, did you know that Chip had an affair with the secretary of lNTX a while back?
isn‘t he married with kids? Had some nice "talks” with Chip while | was in Gainesvi|le, lucky for me it happened
in front of other people, time for some more depositions and subpoenas l'm sure HR will have a field day once
this breaks out with the details and facts. l wonder if the lady friend of Chip will lie for him after we call her as a
witness?

ln summary, | wrote this email because l wanted to tell you that this whole dispute is so stupid and you might
feel justified in your actions to date, | think that you've been unwisely advised by foo|s. ln my opinion, you are
listening to attorneys and people that don't know their left hand from their right

To date, your ”brilliant” representation has only demonstrated how to be a criminal, earned themselves a bar
complaint and investigation and soon is only going to land either NEl, lNTX or themselves in laii (whoever
shipped my laptop across state lines and was withholding it against my consent), l am pressing charges against
those involved because it was wrong and illegal This is no threat either, its merely explaining to you the
continued collateral manage that your counsel and ”team” are creating Once the newspapers get a hold of thisr
what do you think the shareholders are going to say about this? This is what | have been trying to explain to you
all along, creating more damage than good yet you spend a ridiculous amount of money on lawyers for a
company dispute that isG.OS% of the revenue of lNTX. lNTX hasn't been in the newspapers very much but it
seems that the ”team” is going to make it pretty popular. | also think it's ridiculous and completely uncaring for
my safety that | was forced to relocated from AZ and that my life was endangered imagine if you had to move
because l sued you and had witnesses threaten you, witnesses get charged with criminal activity, lawyers harass
you and then earn themselves jail time? imagine how you would feel or think of me?

l presume you got my settlement letter from my counsel, lf you would like to accept my current outstanding
offer or would like to discuss it, l am more than willing or we can let the circus act managed by lawyers continuel
lam very confident | am going to win against your lawyers and you for one know how focused and intense l am.
l have considered taking the LSAT and going to law school after dedicating my days to destroying this lawsuit in
court and seeking the damages and fees that l have incurred to date. You know | am not one to bluff but l can
promise you that my lawyers are more ”friends” than those looking to bill a big company for money to earn
themselves a |iving. | just hate fighting but if it's a war that you want, it‘s a war that our armies are preparing for.

You can forward this to your counsel if you like although it seems that they have created more drama for lNTX
than l think you expected | might seem overly nice, or even naive of your intentions but | still like to think that

people are good. |f they are not, then karma and their intentions will ultimately lead to their own destruction.

l look forward to seeing Scanlon at deposition next week, you are more than welcome to corne, be a good time
to discuss things maybe.

10/23/20()9

Case 1:09-cV-00597-LI\/|B-TCB Document 41-26 Filed 10/23/09 Page 10 of 10 Hage|D#fB%

Rega rd s,

Joe

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